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 5

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     United States of America
 7
                                        UNITED STATES DISTRICT COURT
 8
                              FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
      UNITED STATES OF AMERICA,                         Case No. 1:16-CR-00096-NONE
11
                            Plaintiff
12
                       v.
13
      DANIEL RIOS,                                      STIPULATION AND PROPOSED ORDER
14                                                      FOR AMENDED BRIEFING SCHEDULE
                            Defendant.
15

16

17          The United States, by and through its attorney of record, Jessica A. Massey, hereby
18   submits the following proposed order for an amended briefing schedule regarding the
19   Defendant’s request for Compassionate Release.
20          After the parties filed multiple stipulations to amend the briefing schedule, the Defendant
21   ultimately filed a Supplemental Opening Brief regarding his initial request for Compassionate
22   Release on August 31, 2020. That filing includes declarations from medical doctors regarding the
23   Defendant’s medical condition and susceptibility to COVID-19. The Government seeks
24   additional time to review the Defendant’s most recent filings and draft it’s response to the
25   Defendant’s request.
26   ///
27   ///
28
                                                       1
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 1   ///

 2            The parties request the Court extend the Government’s deadline to file a response to the

 3   Defendant’s motion by September 23, 2020, and that the Defendant’s Reply, if any, be filed by

 4   September 30, 2020.

 5
     IT IS SO STIPULATED.
 6
                                                            Respectfully Submitted,
 7
     DATED: 09/11/20                                        /s/Jessica A. Massey____
 8
                                                            JESSICA A. MASSEY
 9                                                          Assistant U.S. Attorney

10

11   DATED: 09/11/20                                        /s/ Emily Deleon______
                                                            EMILY DELON
12                                                          Attorney for Defendant
                                                            Daniel Rios
13

14

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16
                                                  ORDER
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18

19            IT IS SO ORDERED that the BRIEFING SCHEDULE is as follows:

20            Government/Respondent’s Opposition Brief Due September 23, 2020
21
              Defendant’s/Movant’s Reply (if any) Due September 30, 2020
22

23
     IT IS SO ORDERED.
24

25         Dated:   September 14, 2020
                                                        UNITED STATES DISTRICT JUDGE
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                                                        2
